






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00553-CR







Rodolfo Ramirez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 09-715-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Rodolfo Ramirez seeks to appeal a judgment of conviction for burglary of a
habitation.  Sentence was imposed on March 10, 2010.  On July 1, the district clerk filed a letter from
Ramirez, dated June 26, asking to appeal his conviction.  On July 12, the trial court appointed an
attorney to represent Ramirez on appeal.  The clerk's record was filed on September 17.

The deadline for perfecting appeal in this cause was April 9, 2010.  Tex. R. App.
P.&nbsp;26.2(a)(1).  The only notice of appeal appearing in the record is appellant's letter, which was not
timely.  Under the circumstances, we lack jurisdiction to dispose of the purported appeal in any
manner other than by dismissing it for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208
(Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).


The appeal is dismissed.



				__________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   October 6, 2010

Do Not Publish


